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               EXHIBIT A
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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                          Plaintiff,

     v.                                             Case No. 1:20-cv-10832(AT)(SN)

RIPPLE LABS, INC., BRADLEY
GARLINGHOUSE, and CHRISTIAN A. LARSEN

                          Defendants.




          AMICUS CURIAE BRIEF OF PARADIGM OPERATIONS LP




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                              INTERESTS OF AMICUS CURIAE

         Paradigm is an investment firm that backs innovative crypto/web3 companies and

protocols. To help these projects achieve their full potential, Paradigm offers them a range of

services, from the technical to the operational. Issues placed before this Court have the potential

to dramatically impact the design and operation of crypto/web3 companies. Paradigm seeks

leave to participate in this case because it is concerned that a decision casually adopting language

advocated by the Securities and Exchange Commission (“SEC”), without appreciating its impact,

could have sweeping and unintended effects on Paradigm and many others who seek to utilize

new technology in a way that could benefit millions of users in the United States and around the

world.

                                  SUMMARY OF ARGUMENT

         A subtle distinction of monumental importance lurks beneath the surface of this case and

threatens to displace Congress’s role in deciding how crypto assets will be regulated.

         On the surface, this case is about whether certain offers and sales of XRP tokens were

securities offerings. But the SEC’s rhetoric goes further than its claims require or the law

supports. It asserts that XRP tokens, and by extension many other crypto assets, are themselves

securities.

         The SEC’s apparent attempt to conflate an investment scheme with the crypto asset sold

in that scheme is unsupported by legal precedent and fundamentally inconsistent with existing

securities laws. To this end, a comprehensive study conducted by one of the firms on this brief

reviewed every single relevant federal appellate case to have applied the Howey test. This study

confirmed that no federal appellate court has held that an asset that is the object of an investment

contract transaction is itself a security, nor that a subsequent transfer of that asset would be a

securities transaction (nor has the SEC cited any such authority). See Lewis Cohen et al., The


                                                  1
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Ineluctable Modality of Securities Law: Why Fungible Crypto Assets Are Not Securities, (“Why

Fungible Crypto Assets Are Not Securities”) (Nov. 10, 2022), attached as Exhibit 1.

       The distinction between offer and sale transactions and the underlying crypto assets is

critical. The SEC regulates a variety of fundraising schemes, and courts have evaluated those

schemes for decades using the test set forth in SEC v. W.J. Howey Co., 328 U.S. 293 (1946)

(“Howey”). That is not new. But the SEC’s effort to graft that same Howey analysis onto XRP

tokens themselves is radically new, and it is the foundation upon which the SEC seeks to claim

sweeping new authority to regulate not just investment offerings (its proper statutory role), but

virtually the entire secondary market for crypto assets.

       The SEC’s objective may be understandable, but its approach is not founded in existing

law. A comprehensive analysis of federal appellate law reveals that no authority exists to

support the SEC’s attempt to transmute the Howey analysis of an investment contract transaction

into a conclusion about the underlying asset. In every application of Howey where an investment

contract was found, there was some identifiable legal relationship between an ostensible “issuer”

and the “investor” providing investment capital.

       Put another way, the SEC’s effort to construe XRP tokens as securities—even though

XRP tokens create no legal relationship between the owner and Ripple Labs or any person or

entity—invents a new form of “issuer-independent security” untethered from the powers

conferred by Congress. For instance, Ripple Labs could go bankrupt and emerge with new legal

entities without impacting the owners of XRP tokens. This is unlike any other type of security

known to our securities laws, and instead resembles a commodity.

       The SEC’s attempt to obtain new authority through the courts is regulatory overreach.

The SEC believes that someone should regulate crypto assets, and by branding the assets



                                                   2
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themselves “securities” it is attempting to bypass Congress and bring crypto asset markets under

its authority. That is precisely what the Supreme Court cautioned against last term in West

Virginia v. EPA, 142 S. Ct. 2587 (2022). It is not the proper place of the SEC, nor the courts, to

usurp the role of Congress and choose a regulator for crypto assets by straining Howey to

conflate fundraising transactions with the underlying assets outside the bounds of appellate

authority. Nor is it necessary to do so to resolve the claims before this Court.

       Whatever decision the Court makes with respect to Defendants’ offers and sales of XRP

tokens, it should decline to pass judgment on the status of XRP tokens themselves. When facing

matters of this significance, outside the bounds of any appellate precedent or statutory guidance,

and with the regulation of an entire market at stake, the power rests with Congress.

                                          ARGUMENT

I.     THE CRITICAL DISTINCTION BETWEEN INVESTMENT TRANSACTIONS OR
       SCHEMES, AND UNDERLYING ASSETS, WILL DEFINE THE IMPACT OF
       THIS CASE ON INTERNATIONAL MARKETS.

       The SEC seeks to hold Defendants liable for their offers and sales of XRP, which does

not require reaching any conclusion as to the nature of the XRP token itself. As the SEC

expressly argues, an investment contract can be structured around any ordinary asset. SEC

Mem. of Law in Opp’n to Defs.’ Mot. for Summ. J. (“SEC Opp’n Br.”) 39–40, ECF No. 674.

       Nevertheless, the SEC repeatedly refers to the XRP token itself as a security, in hopes

that the Court might characterize it as such. The first line of the SEC’s Complaint states that

“Defendants sold over 14.6 billion units of a digital asset security called ‘XRP’ . . . .” First Am.

Compl. ¶ 1, ECF No. 46. In opposition to Defendants’ motion for summary judgment, the SEC

buries this crucial position in a footnote, explaining that it believes “XRP transactions between

two public investors” in a secondary market would be exempt from registration “despite such

transactions involving securities.” SEC Opp’n Br. 45 n. 25 (emphasis added). The same

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footnote later asserts that secondary market investors exchanging nothing but the XRP token are
                                                                                                                     1
“buying and selling Ripple’s investment contracts from each other.” Id. (emphasis in original).

         The SEC downplays the significance of its position and conceals what is really at stake,

by asserting that secondary market transactions between two public investors would be exempt

from registration. That is not the point. The SEC has made clear its ambition to regulate crypto
                                                                                                     2
asset secondary markets, with enforcement against intermediaries as a top priority. Congress

has not granted that wish. The SEC’s unfounded position that crypto assets themselves are

securities, slipped into a footnote, could provide the SEC the keys to the kingdom.

         Given the central importance of this point to the SEC’s regulatory ambition, it is

particularly concerning that the SEC misstates the holding of SEC v. Telegram Grp. Inc., 448 F.

Supp. 3d 352 (S.D.N.Y. 2020) (“Telegram”), to suggest that that court supported its position that

crypto assets themselves are investment contracts. In its opposition brief, the SEC states that

“[c]ourts apply these same principles to hold that crypto assets similar to XRP are investment

contracts.” SEC Opp’n Br. 49 (citing Telegram as the primary support). The Telegram court

twice rejected the position that the Gram token itself was the security at issue:


1
  The only authority the SEC cites in that footnote is Jobanputra v. Kim, No. 21 Civ. 7071 (ER), 2022 WL 4538201
(S.D.N.Y. Sep. 28, 2022), for the proposition that “crypto assets ‘sold . . . in the general market’ may be securities.”
SEC Opp’n Br. 45 n. 25; see also Jobanputra, 2022 WL 4538201, at *8 n. 8. Jobanputra did not substantively address
the question and instead denied a motion to dismiss, holding that it was plausibly alleged that crypto assets were
securities, because it viewed two other opinions as having treated other crypto assets as securities. See Jobanputra,
2022 WL 4538201, at *8 n. 8. On inspection, neither of those two opinions supports the SEC’s position. The first,
Balestra v. ATBCOIN LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019), similarly held only that the token’s status was
plausibly alleged for purposes of a motion to dismiss. The second, SEC v. Kik Interactive Inc., 492 F. Supp. 3d 169
(S.D.N.Y. 2020) (“Kik”), is addressed further below. In short, none of these cases provide analytical support for the
SEC’s novel position conflating the offering with the underlying asset itself.
2
  See, e.g., Lydia Beyoud, SEC’s Gensler Steps Up Push to Get Crypto Exchanges to Register with Regulator,
Bloomberg (July 28, 2022), https://www.bloomberg.com/news/articles/2022-07-28/sec-chair-gensler-hardens-line-
on-crypto-exchange-registration; see also Oversight of the SEC's Division of Enforcement: Hearing Before Subcomm.
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(2022) (statement of Gurbir S. Grewal, Director, SEC Division of Enforcement), https://www.sec.gov/news/
statement/grewal-statement-house-testimony-071922. See also Brief for Amici Curiae Investor Choice Advocates
Network & Philip Goldstein in Supp. of Defs.’ Mot. for Summ. J. (“ICAN Br.”) 1–15, ECF No. 683.

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       While helpful as a shorthand reference, the security in this case is not simply the
       Gram, which is little more than alphanumeric cryptographic sequence. . . . This
       case presents a “scheme” to be evaluated under Howey that consists of the full set
       of contracts, expectations, and understandings centered on the sales and distribution
       of the Gram. Howey requires an examination of the entirety of the parties’
       understandings and expectations.

448 F. Supp. 3d at 379. On a motion for clarification, the court sharpened the point:

       But focusing upon the Initial Purchasers and their Gram Purchase Agreements
       misses one of the central points of the Court’s Opinion and Order, specifically, that
       the “security” was neither the Gram Purchase Agreement nor the Gram but the
       entire scheme that comprised the Gram Purchase Agreements and the
       accompanying understandings and undertakings made by Telegram, including the
       expectation and intention that the Initial Purchasers would distribute Grams into a
       secondary public market.

No. 19-cv-9439 (PKC), 2020 WL 1547383, at *1 (S.D.N.Y. Apr. 1, 2020) (emphasis added).

       The Telegram court rightly focused on the facts and circumstances of the offering

scheme, not the Gram token itself, and found that the SEC had shown a substantial likelihood of

success in proving that the overall scheme, including “the Gram Purchase Agreements,

Telegram’s implied undertakings, and its understandings with the Initial Purchasers, including

the intended and expected resale of Grams into a public market, amount to the distribution of

securities, thereby requiring compliance with section 5.” 448 F. Supp. 3d at 381.

       Two other courts, however, failed to address the nuanced distinction between the offering

transaction and the crypto asset, and instead adopted language advocated by the SEC to construe

a crypto asset itself as a security, with no critical analysis. In Kik, the court addressed an

offering similar to the one in Telegram and similarly held that the sales of Kin tokens were

investment contract transactions. Some dicta in Kik references the Kin token as a security, but it

does so without providing any reasoning or legal support for projecting the analysis of the

transaction onto the Kin token itself. 492 F. Supp. 3d at 177–82. Most recently, on November 7,

2022, another court ruled that crypto asset sales violated Section 5. See Memorandum and Order


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at 18, SEC v. LBRY, Inc., No. 21-cv-00260-PB (D.N.H. Nov. 7, 2022), ECF No. 86 (“LBRY Slip
       3
Op.”). Once again, the opinion appears to adopt the SEC’s view that the token itself was a

security, without any legal analysis or support for that proposition. See id.

           By construing the underlying crypto assets as securities, the Kik and LBRY courts strayed

outside the bounds of all existing appellate precedent or statutory guidance. While one of those

cases evaded appellate review and the other may also, the spotlight on this case weighs strongly

in favor of conducting a more rigorous analysis of this critically important distinction here.

There is no need to cross the line into opining on the nature of the XRP token itself. Failure to

respect that outer limit of existing precedent and statutory guidance would be an unforced error,

opening any decision to potential reversal of an otherwise defensible holding, for needlessly

running afoul of the major questions doctrine.

II.        A COMPREHENSIVE REVIEW OF FEDERAL APPELLATE LAW CONFIRMS
           THAT THE HOWEY TEST CANNOT BE USED TO CLASSIFY CRYPTO ASSETS,
           THEMSELVES, AS “SECURITIES”.

           A comprehensive review of federal appellate jurisprudence confirms that the Howey test

does not support a determination that the object of an investment contract—here the XRP

token—is a security. Thus, for a secondary transaction in a crypto asset to be a securities

transaction, either (i) the asset itself would need to convey a bundle of rights and obligations

sufficient to be considered a “security,” or (ii) a new investment contract transaction would need

to be formed based on the specific circumstances of that transaction.

           This conclusion is supported by a review of 253 federal appellate court decisions and 13

Supreme Court decisions, which represent all relevant appellate cases identified as applying the



3
  The only authority LBRY offers is Warfield v. Alaniz, 569 F.3d 1015, 1021 (9th Cir. 2009), for the unrelated
proposition that a court should focus on what was promised and not the subjective intent of the purchasers. See LBRY
Slip Op. at 18. Warfield has no bearing on the distinction between the offering and an underlying asset.

                                                         6
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Howey test, either with reference to Howey or to United Hous. Found., Inc. v. Forman, 421 U.S.

837 (1975). See Why Fungible Crypto Assets Are Not Securities, Schedules 1–3. The SEC has

cited no contrary authority to support treating the object sold in an investment contract

transaction as a security in itself. This is because no such authority exists.

         A.       Evaluating Fundraising Schemes as “Investment Contracts” Under Howey Is
                  Not Novel, Whether They Involve a Crypto Asset or Any Other Asset.

         The Howey test evaluates whether a “contract, transaction, or scheme”—not an asset—is

an investment contract, considering whether the circumstances as a whole involve: (1) an

investment of money (2) in a common enterprise (3) with an expectation of profits to come (4)

solely from the efforts of the promoter or a third party. 328 U.S. at 298–99.

         Since 1946, federal courts have found all manner of arrangements involving ostensibly

commercial transactions to nevertheless be investment contracts. See Why Fungible Crypto

Assets Are Not Securities at Schedule 1 (collecting examples of cases involving whiskey

warehouse receipts, beavers, cattle embryos, and chinchillas, among others). The same logic has

been applied to transactions and schemes involving crypto assets. See, e.g., Telegram, 448 F.

Supp. 3d at 381. While the application of Howey to crypto assets is recent, the SEC’s litigated

cases involving crypto assets have hewed more closely to precedent by focusing on claims

against a purported issuer and the circumstances of the offering.4 Those claims asserting that an


4
  See, e.g., Kik, 492 F. Supp. 3d at 177–82; LBRY Slip Op. at 6; In the Matter of Munchee Inc., Release No. 33-10445,
2017 WL 10605969 (Dec. 11, 2017); In the Matter of Bloom Protocol, LLC, Release No. 11089, 2022 WL 3273493
(Aug. 9, 2022); Complaint, SEC v. PlexCorps, No. 17-cv-7007, 2017 WL 5988934 (E.D.N.Y. Dec. 1, 2017) (alleging
misrepresentations about the size and scale of PlexCorps’ operations, the use of funds raised in an ICO, and the amount
of funds raised in the ICO); Complaint, SEC v. AriseBank, No. 3-18-cv-186-M, 2018 WL 623772 (N.D. Tex. Jan. 25,
2018) (alleging “many” materially false statements and omissions in connection with an ICO transaction). The SEC
has previously asserted claims premised on tokens being securities in settled actions where its assertions will not be
tested. See, e.g., In the Matter of Zachary Coburn, Release No. 34-84553, 2018 WL 5840155 (Nov. 8, 2018) (claiming
that EtherDelta “operated as a market place for bringing together orders of multiple buyers and sellers in [digital
assets] that included securities”). The SEC recently filed its first case directly placing at issue whether tokens in
secondary market transactions are securities transactions. See Complaint, SEC v. Wahi, No. 22-cv-1009 (W.D. Wash.
July 21, 2022) (alleging that secondary transactions constituted insider trading under the securities laws). That
complaint has not yet been tested and has received much criticism. See, e.g., Statement of Commissioner Caroline D.

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offering of crypto assets constitutes an investment contract, however, do not justify extrapolating

from that conclusion to construe the crypto asset itself as a security.

         B.       Howey Cannot Be Used to Classify Underlying Assets as Securities, Especially
                  When Exchanged in Secondary Market Transactions.

         While many appellate cases apply Howey to the purported sale of an underlying asset

which functions as the object of an investment scheme, these cases uniformly highlight a critical

distinction between the documents, marketing materials, or oral statements that create the

required “common enterprise” at the center of a Howey analysis and the “object” being sold

pursuant to the purported investment scheme. See Why Fungible Crypto Assets Are Not

Securities at 55–58 (collecting cases).5 In those transactions, a sales agreement was almost

always accompanied by the seller or an affiliated entity performing post-purchase functions

(such as picking, bundling and selling oranges; husbanding cattle and their embryos; or maturing

whiskey in casks). See id. And, in each of those cases, the investment package (i.e., the set of

formal or informal agreements or understandings between the seller and the purchaser) is clearly

distinguishable from the object of the scheme itself (i.e., the orange groves, cattle, or beavers).

         Moreover, there is no suggestion in any of the appellate cases that the transfer of the

underlying object to another “investor” without an assignment or transfer of the surrounding




Pham on SEC v. Wahi, Commodity Futures Trading Commission (July 21, 2022), https://www.cftc.gov/PressRoom/
SpeechesTestimony/phamstatement072122.
5
 E.g., SEC v. ETS Payphones, Inc., 408 F.3d 727 (11th Cir. 2005) (sale and leaseback of payphones); Miller v. Cent.
Chinchilla Grp., Inc., 494 F.2d 414 (8th Cir. 1974) (sale and management agreements with respect to chinchillas);
Smith v. Gross, 604 F.2d 639 (9th Cir. 1979) (earthworms); Newmyer v. Philatelic Leasing, Ltd., 888 F.2d 385 (6th
Cir. 1989) (printing plates for foreign postage stamps); Rodriguez v. Banco Cent., 990 F.2d 7 (1st Cir. 1993) (finding
that “a security might exist if the defendants had promised, along with the land sales, to develop [a thriving residential]
community themselves,” but that “[a] simple sale of land, whether for investment or use, is not a ‘security’”); Bamert
v. Pulte Home Corp., 445 F. App’x 256 (11th Cir. 2011) (rejecting the plaintiffs contention that purchase agreements
for at least one Orlando condominium unit were investment contracts because the plaintiffs were under no contractual
obligation to join an offered rental pool or otherwise contract with the defendant’s proposed rental agent, but finding
that the plaintiff had sufficiently alleged the possible existence of an investment contract in considering exclusive
rental agreements, if the rental agents were found to be affiliates of the condominium seller).

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promises or rights, would result in another securities transaction. There is no appellate case

which suggests that the object of an investment scheme is a “security.”

         Of the hundreds of federal appellate and Supreme Court decisions applying the Howey

analysis, none directly deals with secondary transactions in those assets and only one analyzed a

transaction under Howey that did not directly involve as a party the entity that would purportedly

be the “issuer” of the alleged investment scheme. In that one case, Hocking v. Dubois, 885 F.2d

1449 (9th Cir. 1989) (en banc) (“Hocking II”), the circumstances of the secondary transaction

provided independent grounds for conducting an investment contract analysis.6

         The procedural history of the Hocking case demonstrates the difficulty of applying

Howey to secondary market transactions, and the impossibility of expecting secondary market

participants to do so under penalty of strict liability under federal securities laws. The District

Court held that Hocking’s arrangement did not constitute an investment contract. See Hocking v.

Dubois, 839 F.2d 560, 562 (9th Cir.) (describing trial court opinion), withdrawn, 863 F.2d 654

(1988). The Ninth Circuit reversed, finding that an “offering of a condominium with [a rental

pool agreement] automatically makes the [transaction an investment contract].”’ Id. at 565.

         After a rehearing en banc, the outcome was reversed again, to hold that the arrangement

did not automatically constitute an investment contract transaction. Hocking II, 885 F.2d at

1462. The full court held that just because the purchase of an asset could have been based on an

expectation of profit, did not support a holding that all transactions were automatically securities

transactions.



6
  Hocking, an individual investor, purchased a rentable condominium unit in a secondary transaction through the
encouragement of his real estate broker, then entered into a rental pool agreement with a company acting as the rental
pool operator for the resort. Hocking later brought a lawsuit against the real estate broker, claiming that the
combination of the condominium purchase and the rental pool agreement constituted an unregistered securities
transaction. See Hocking II, 885 F.2d at 1452–53.

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       On rehearing en banc, the Hocking majority reasoned:

       We agree with defendants and amici that the three-judge panel may have written
       too broadly its conclusion that so long as a rental pool ‘option’ exists, all secondary
       market sales necessarily involve a security. Such a per se rule would be ill-suited
       to the examination of the economic reality of each transaction required by Howey.

Hocking II, 885 F.2d at 1462 (emphasis added).

       C.      No Federal Appellate Court Has Found an Investment Contract to
               Exist Without a Legal Relationship to the Issuer.

       Unlike all forms of securities recognized in our federal securities laws, XRP tokens do

not bestow on the holder any legal relationship to Ripple Labs or any other issuer, and when

traded in a secondary market they do not transfer any legal relationship to an issuer from the

seller to the purchaser. That distinction between XRP tokens and securities, is critical.

       Every item on the enumerated list of instruments that comprise the definition of a security

under federal securities laws reflects the presence of a legal relationship established between an

identifiable legal entity that acts as the issuer of the security and the owners of that security. See

Why Fungible Crypto Assets Are Not Securities at 62–63 (addressing each of the enumerated list

of instruments in the definition of “security” to show they each involve a legal relationship with

an issuer). The inclusion of the term “investment contract” is no exception. Every federal

appellate court finding an “investment contract” to exist under the Howey is consistent with this

trend, and no such case has suggested that an investment contract can exist in the absence of any

legal relationship. See id., Schedules 1–3.

       Under current law, there is simply no such thing as an “issuer-independent security”—a

security that exists independently of any legal relationship to an identifiable entity considered its

“issuer.” Throughout the federal securities laws it is assumed that all securities will have an

“issuer”—an identifiable person or entity against whom a securityholder’s rights can be

exercised. When a security has been issued, many different obligations and potential liabilities

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are imposed on the issuer of that security, including the responsibility for filing periodic reports

where the security or issuer has registered with the SEC. 15 U.S.C. § 78m.

         The survey of appellate jurisprudence presented in Annex A to Why Fungible Crypto

Assets Are Not Securities demonstrates that a traditional written contract is present in virtually

every instance where an investment contract has been found by an appellate court. In those few

appellate cases in which an investment contract was found without a written instrument between
                                                                                                                  7
the parties, however, the elements necessary to find an implied-in-fact contract were present.

         No appellate decision holds or suggests that the ownership of an ordinary asset, without

some ongoing business relationship to the issuer of the investment contract, would suffice to

establish a “common enterprise” required for an investment contract. Of the 266 decisions

surveyed, approximately 62 had more than a cursory reference to the concept of “common

enterprise.” Why Fungible Crypto Assets Are Not Securities at 48. Of those, 37 decisions either

found that an investment contract transaction or scheme was present or remanded for further fact

finding. Id. In each of these decisions, the one constant was that commonality was based on a




7
  The SEC argues that “an ongoing contractual obligation” is not an essential element of an investment contract, but
it fails to cite any binding or persuasive authority. See SEC Opp’n Br. 49 (citing Kik, 492 F. Supp. 3d at 178). The
Kik court did make that assertion, but oddly based it on two cases that held the opposite. See Kik, 492 F. Supp. 3d at
178 (citing Davis v. Rio Rancho Ests., Inc., 401 F. Supp. 1045, 1049–50 (S.D.N.Y. 1975); Hart v. Pulte Homes of
Michigan Corp., 735 F.2d 1001, 1005 (6th Cir. 1984)). Davis held that there was no investment contract despite an
expectation of future efforts of the seller, because there was no ongoing contractual relationship. The plaintiff had
purchased near-worthless desert land, sold to purchasers with the expectations that the developer would take active
steps to create a community. The court held there was no investment contract despite that expectation of future efforts.
Central to the court’s analysis was the fact that “[t]here was no management contract between plaintiff and defendants,
nor were defendants obligated by the Purchase Agreement to perform any such services” and, “[i]n the absence of a
‘common enterprise’ between the parties, the expectation of a profit on resale is insufficient to transform what is
essentially a sale of real property into the sale of an investment contract[.]” Davis, 401 F. Supp. at 1050. Hart
similarly concluded that there was no common enterprise because the expectations were not substantiated by a
contractual relationship. See Hart, 735 F.2d at 1004 (“Even assuming that individual purchasers were assured of
development, nothing in the pleadings suggests that the fortunes of individual purchasers were ‘inextricably
intertwined’ by contractual or financial arrangements.”) (emphasis added).
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direct business relationship between the issuer and the participant. No such relationship exists

between someone who obtained XRP tokens in the secondary market and Ripple Labs or any

other person or entity, and the same holds true for many crypto assets.

         The SEC’s proposed creation of a security with no legal relationship to an issuer cannot

be reconciled with existing law. Among other problems, the inherently transitory nature of

Howey’s facts-and-circumstances analysis means that the outcome today may be different

tomorrow. The SEC staff sought to address this transitory problem in a 2018 speech by Director

Hinman, which gave rise to the awkward concept that a crypto asset once classified as a security
                                        9
might morph into a non-security. But this novel morphing concept cannot be implemented in

secondary markets. If a crypto asset can morph from a security to a non-security based on

extrinsic factors (such as the disappearance of the founding team), then it can just as easily

morph back into a security (upon their return, or the ascendance of a new leader, or some other

set of promises or assurances). The securities laws drafted by Congress cannot accommodate

crypto assets morphing in and out of transitory “security” status, untethered from any legal

relationship to any issuer. In a similar context, the Supreme Court rejected an analogous

“morphing” concept, because:

                  coverage by the Acts would in most cases be unknown and
                  unknowable to the parties at the time the stock was sold. These
                  uncertainties attending the applicability of the Acts would hardly
                  be in the best interests of either party to a transaction. Cf. Marine
                  Bank v. Weaver, 455 U.S. [551,] 559, n. 9 (rejecting the argument

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  A good example of this is Shaw v. Hiawatha Inc., in which the plaintiffs alleged that the defendants’ agents told
them that they “would be in business together” coupled with a letter from an officer of the defendant stating that he
was looking forward to a “long and profitable relationship” with the defendants. 884 F.2d 582 (9th Cir. 1989).
9
 See William Hinman, Director, Div. Corp. Fin., SEC, Remarks at the Yahoo Finance All Markets Summit: Digital
Asset Transactions: When Howey Met Gary (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-
061418 (“And putting aside the fundraising that accompanied the creation of Ether, based on my understanding of the
present state of Ether, the Ethereum network and its decentralized structure, current offers and sales of Ether are not
securities transactions.”)

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                 that the certificate of deposit at issue there was transformed,
                 chameleon-like, into a “security” once it was pledged).

Landreth Timber Co. v. Landreth, 471 U.S. 681, 696 (1985) (emphasis added). Under current

law, the only rational approach is to regulate each offering according to its facts and

circumstances, recognizing that the crypto asset underlying the offering is not itself a security.

III.    EXTENDING HOWEY TO CLASSIFY CRYPTO ASSETS THEMSELVES AS
        “SECURITIES” WOULD BYPASS THE ROLE OF CONGRESS AND VIOLATE
        THE MAJOR QUESTIONS DOCTRINE.

        Courts “expect Congress to speak clearly when authorizing an agency to exercise powers

of vast economic and political significance.” Ala. Ass’n of Realtors v. Dep’t of Health & Hum.

Servs., 141 S. Ct. 2485, 2489 (2021) (internal quotation marks omitted). Under the “major

questions doctrine,” courts are “reluctant to read into ambiguous statutory text the delegation

claimed to be lurking there” in “extraordinary cases . . . in which the history and the breadth of

the authority that the agency has asserted, and the economic and political significance of that

assertion, provide a reason to hesitate before concluding that Congress meant to confer such

authority.” West Virginia, 142 S. Ct. at 2608–09 (internal quotation marks and citations

omitted). In such cases “both separation of powers principles and a practical understanding of

legislative intent” require an agency to point to “clear congressional authorization for the power

it claims.” Id. at 2609 (internal quotation marks and citation omitted).

        Regulation of the new class of crypto assets is matter of great economic and political

significance. In May 2021, SEC Chair Gary Gensler stated that the market for crypto assets was

$2 trillion, and in November 2021, Pew Research Center estimated last year that 16% of
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Americans have invested in, traded, or used cryptocurrency.               That does not mean that all


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  See Game Stopped? Who Wins and Loses When Short Sellers, Social Media, and Retail Investors Collide, Part III:
Hearing Before H. Comm. On Financial Services, 117th Cong. 11 (2021) (statement of Hon. Gary Gensler, Chairman,
SEC); Andrew Perrin, 16% of Americans Say They Have Ever Invested In, Traded or Used Cryptocurrency, Pew

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application of securities laws to crypto assets implicates the major questions doctrine. Applying

Howey to fundraising schemes involving crypto assets fits within the SEC’s existing authority,

just as Howey has applied to fundraising transactions involving innumerable other assets.

        The SEC runs afoul of the major questions doctrine, however, by attempting to mutate

analysis of the transaction into a conclusion about the asset itself. See SEC Opp’n Br. 45 n. 25.

It is in that leap that the SEC departs from the authority granted by Congress and all appellate

precedent. As demonstrated above, that novel argument would not only grant authority over the

crypto asset secondary market not authorized by Congress, but create the first class of issuer-

independent securities—a concept entirely foreign to the laws enacted by Congress.

        To be sure, secondary markets for digital assets raise important investor protection and

other policy concerns. But that is all the more reason for judicial restraint. Congress is well

aware of these concerns and is in the process of performing its role of considering legislation to
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address them.        Three such bills were introduced this year and remain pending. See Lummis-

Gillibrand Responsible Financial Innovation Act, S. 4356, 117th Cong. (2022); Digital

Commodities Consumer Protection Act of 2022, S. 4760, 117th Cong. (2022); Digital

Commodities Exchange Act of 2022, H.R. 7614, 117th Cong. (2022). In addition, the Executive

Branch is coordinating a “whole of government” approach to crypto assets. Exec. Order No.

14,067, 87 Fed. Reg. 14143 (March 14, 2022). This is not an issue for the SEC to decide, or for

a court to decide through an unprecedented interpretation of Howey.




Research Cntr (Nov. 11, 2021), https://www.pewresearch.org/fact-tank/2021/11/11/16-of-americans-say-they-have-
ever-invested-in-traded-or-used-cryptocurrency/.
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  For a more complete recitation of the proceedings before Congress, see Br. for Amicus Curiae Investor Choice
Advocs. Network & Philip Goldstein in Supp. of Defs.’ Mot. for Summ. J. 7–11, ECF No. 683.

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       As the Supreme Court explained just this past term, we “presume that Congress intends

to make major policy decisions itself, not leave those decisions to agencies.” West Virginia, 142

S. Ct. at 2609 (internal quotation marks omitted). Under the SEC’s approach, the agency would

jump ahead of Congress. Amicus asks this Court to resist the impulse to allow a regulatory

agency to expand its authority under a framework that was designed for an entirely different

context. Id. (“Extraordinary grants of regulatory authority are rarely accomplished through

modest words, vague terms, or subtle devices.”) (internal quotation marks, citation, and

alteration omitted).

       “Agencies have only those powers given to them by Congress, and enabling legislation is

generally not an open book to which the agency may add pages and change the plot line.” Id.

(internal quotation marks and citation omitted). Blockchain technology heralds a new era of

programmable assets that does not fit neatly into existing legal classifications. As Congress

finalizes legislation governing this novel industry, this Court should reject the SEC’s effort to

supersede Congress by reading into the Securities Act powers that are simply not there.

                                         CONCLUSION

       For the reasons discussed above, this Court should decline to adopt the SEC’s

unsupported position that the XRP token itself is a security, or that any secondary market

transactions in that token are securities transactions by virtue of the facts and circumstances

presented in this case.




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Dated: November 11, 2022     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document was filed on

November 11 2022, with the Clerk of the Court by using the CM/ECF system, which will effect

electronic service on all parties and attorneys registered to receive notifications via the CM/ECF

system.


Dated: November 11, 2022                            By:      /s/ Kayvan B. Sadeghi
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